Dear Dr. Mallory:
In accordance with your request of April 9, 1979, we have reviewed the Missouri State Department of Elementary and Secondary Education's "Application for Federal Assistance — Migrant Education Program" (fiscal year 1980). This application is being submitted under Title I of the Elementary and Secondary Education Act of 1965, P.L. 89-10, as amended. See 20 U.S.C. § 241c-2.
In addition to the Elementary and Secondary Education Act of 1965, as amended, and the regulations propounded pursuant thereto, our review has taken into consideration Article III, § 38(a), Missouri Constitution, and § 161.092, RSMo Supp. 1975.
Based on the foregoing, we hereby certify that the Missouri State Department of Elementary and Secondary Education has authority under state law to perform the duties and functions of a "state educational agency" as defined in Title I of P.L. 89-10 (20 U.S.C. § 244), including those arising from the assurances set forth in the application.
This opinion letter constitutes our official certification and should be inserted in the appropriate place in each copy of the application.
Very truly yours,
                                  JOHN ASHCROFT Attorney General